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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                  Case No. 19-cv-02710
              Plaintiff,
                                                  Judge Sharon Johnson Coleman
v.
                                                  Magistrate Judge M. David Weisman
HAPPYMOTO, et al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice as to the

following Defendants:

                Defendant Name                                       Line No.
                     dealclick                                          36
                    hk3czone                                            64
                      keylife                                           71
                    l-carcover                                          73
                 lucky4ever2014                                         79
                   muymotors                                            88

Dated this 11th day of July 2019.          Respectfully submitted,

                                           /s/ RiKaleigh C. Johnson
                                           Amy C. Ziegler
                                           Justin R. Gaudio
                                           RiKaleigh C. Johnson
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                                           Chicago, Illinois 60606
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